Case 1:20-cv-21553-MGC Document 639 Entered on FLSD Docket 04/11/2021 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           Case No. 20-21553-Civ-COOKE/GOODMAN

   PATRICK GAYLE, et al.,

                  Petitioners,

   vs.

   MICHAEL W. MEADE, et. al.,

               Respondents.
   _____________________________________/
                  ORDER ADOPTING REPORT AND RECOMMENDATION
          THIS MATTER is before the Court upon Magistrate Judge Jonathan Goodman’s
   Report and Recommendation (the “Report”) on Petitioners’ Request for Second Rule 30(b)(6)
   Deposition, which Judge Goodman issued on April 7, 2021. ECF No. 633. In his Report,
   Judge Goodman explains that Petitioners want to take a second 30(b)(6) deposition because
   while Respondents’ 30(b)(6) designees previously testified that ICE did not have a plan in
   place to vaccinate any of the detainees at the three facilities at issue in this case, “ICE has
   now received a formal, written vaccination plan -- and it is effective January 25, 2021.” Id. at
   p. 3. Petitioners’ apparently did not become aware of the existence of such a plan until March
   9, 2021 when Respondents produced the plan to Petitioners. Id. at p. 4.
          Respondents filed a summary judgment motion on January 4, 2021. ECF No. 484.
   And Respondents filed their reply brief in support of that motion on February 16, 2021. ECF
   No. 553. Thus, the reply brief was submitted after the effective date of the vaccination plan;
   yet, Respondents did not give any indication that such a plan existed in their reply brief. This
   is baffling to the Court as the existence of a vaccination plan for the detainees at the three
   detention facilities at issue in this case will likely have significant impact on the Parties’
   deliberate indifference arguments at trial. As such, Judge Goodman recommends that
   Petitioners be permitted to depose Respondents 30(b)(6) designees on ICE’s vaccination plan
   for detainees at the three facilities at issue in this case.
          The Parties were permitted to file objections to Judge Goodman’s Report by noon on
   April 9, 2021. No such objections were filed. Moreover, the Undersigned finds Judge
Case 1:20-cv-21553-MGC Document 639 Entered on FLSD Docket 04/11/2021 Page 2 of 2




   Goodman’s Report to be clear, cogent, and compelling. Accordingly, it is hereby ORDERED
   and ADJUDGED that Judge Goodman’s Report and Recommendation (ECF No. 633) is
   AFFIRMED and ADOPTED as the Order of this Court. To ensure that these depositions
   do not disturb the trial schedule for this case, it is further ORDERED and ADJUDGED as
   follows:
             1.     The 30(b)(6) depositions are limited to two hours per designee (for a maximum
   of six hours);
             2.     The depositions must be taken by April 19, 2021;
             3.     If Petitioners are able to obtain an expedited deposition transcript, then they
   may arrange for their expert witness to produce a supplemental report by April 21, 2021; and
             4.     Respondents are permitted to take a follow-up deposition of Petitioners’ expert
   by April 26, 2021 if any new or different opinions are provided in the supplemental expert
   report.
             DONE and ORDERED in Chambers at Miami, Florida this 11th day of April 2021.




   Copies furnished to:
   Jonathan Goodman, U.S. Magistrate Judge
   Counsel of record
